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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                SOUTHERN DIVISION

AMBER COLVILLE, et al.,
                                                      Civil Action No. 1:22-cv-00113-HSO-RPM
       Plaintiffs,

       v.
                                                      District Judge Halil S. Ozerden
XAVIER BECERRA, in his official capacity
as Secretary of Health and Human Services, et.
al.,
                                                      Magistrate Judge Robert P. Myers, Jr.
       Defendants.


                            NOTICE OF DISMISSAL OF PARTY

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff State Arizona provides

notice to this Court that it is voluntarily dismissing its claims with prejudice. This notice applies

solely to Plaintiff State of Arizona’s claims and does not represent a dismissal of any of the claims

brought by the remaining Plaintiffs.

Dated: April 21, 2023                         Respectfully submitted,

                                                      s/ Brett W. Johnson
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                                                      s/ Justin L. Matheny
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